Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21   Page 1 of 21 PageID 4



                           EXHIBIT A
     Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21            Page 2 of 21 PageID 5



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

LEROY JOHNSON JR                                 §
                                                 §
             Plaintiff,                          §
                                                 §
v.                                               §     CIVIL ACTION NO. 4:21-cv-455
                                                 §
LEAR CORPORATION                                 §
                                                 §
             Defendant.                          §


                  INDEX TO DEFENDANT’S NOTICE OF REMOVAL

EXHIBIT                             DOCUMENT                               DATE OF
                                                                          DOCUMENT
                                                                         AND/OR FILING

      1.     State Court Case Summary                                   03/24/2021

      2.     Plaintiff’s Small Claims Petition                          03/02/2021

      3.     Plaintiff’s Exhibits                                       03/02/2021

      4.     Citation (issued)                                          03/02/2021


                                                                                     46454361.1




                                                 -1-
Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21   Page 3 of 21 PageID 6



                            EXHIBIT 1
                                                         JP6 Civil Docket
        Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21                                 Page 4 of 21 PageID 7
                                                      Case Summary
                                            Case No. JP06-21-SC00015049
 LEROY JOHNSON JR                                                  §                       Location: JP No 06
 vs.                                                               §                Judicial Officer: Charbonnet, Jason M
 LEAR CORPORATION                                                  §                       Filed on: 03/02/2021
                                                                   §

                                                         Case Information

File Date 03/02/2021                                                                    Case Type: Small Claims
Cause of Action                   Description/Remedy                                          Case
Claim                             Action                                                            03/02/2021 Filed
                                                                                            Status:
                                  $2,715.58 Monetary


     Date                                                Case assignment

                  Current Case Assignment
                  Case Number                         JP06-21-SC00015049
                  Court                               JP No 06
                  Date Assigned                       03/02/2021
                  Judicial Officer                    Charbonnet, Jason M



                                                        Party Information

Plaintiff              JOHNSON JR, LEROY
                                                                                                                                      r
Defendant              LEAR CORPORATION

     Date                                       Events & Orders of the Court


                  EVENTS
  03/02/2021      ^*1 Original Petition Filed (OCA Opening)

  03/02/2021      Tfl Exhibit(s) Filed By Plaintiff

  03/02/2021      1^-1 Citation Issued

  03/02/2021       Q Mailed Citation to Constable/Sheriff - Out of County Service

                  HEARINGS
  06/29/2021      Clerk Follow Up/3 Months (8:00 AM) (Judicial Officer: Charbonnet, Jason M)

                  SERVICE
  03/02/2021      CITATION
                  LEAR CORPORATION
                  Unserved
                  Anticipated Server: OUT OF COUNTY
                  Anticipated Method: In Person_______
     Date                                                   Financial Information

                  Plaintiff JOHNSON JR, LEROY
                  Total Charges                                                                                             46.00
                  Total Payments and Credits                                                                                46.00
                  Balance Due as of 3/24/2021                                                                                0.00

   03/02/2021     Charge                                                    Plaintiff JOHNSON JR, LEROY                      46.00
   03/02/2021     Counter Payment Receipt # JP6-2021-01435                  Plaintiff JOHNSON JR, LEROY                     (46.00)




                                                              PAGE 1 OF 2                                       Printed on 03/24/2021 at 12:33 PM
                             JP6 Civil Docket
Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21    Page 5 of 21 PageID 8
                          Case Summary
                      Case No. JP06-21-SC00015049




                                 PAGE 2 OF 2                      Printed on 03/24/2021 at 12:33 PM
Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21   Page 6 of 21 PageID 9



                            EXHIBIT 2
                                                                                                                                                                    FNé
                 Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21                                                   Page 7 of 21 PageID 10
                                      Case No.                                     'SOL’IQ

                           JEWSOH a?
                                                                                               I




   Lev                                                                                                                  JUSTICEOFTHEPEACECOURT
                 (Jaintiff)
                                                                                                                             PRECINCT NO.           Q
  Le ”               gg/pp
                                           [4%IDA                                                                       TARRANT COUNTY, TEXAS
                 (Defendant)
                                                                       SMALL CLAIMS PETITION



             Ihereby state that I am filing a Small Claims Case: A small claims case is a lawsuit brought for the recovery of money damages, civil
             penalties, or personal property. The claim can be for no more than $10, 000 excluding statutory interest and court costs but including
             attorney’s fees, if any.


  I,   LEK/O          I/      @A/sm                                          ,whose addressis            .43), 7            K0 /[l (I6) mmw DWS DR                                   .




                                                        l
       (Plaintiff)                                                                                       (Street and Number)

  ERYL
               wg%tkl
       (City State, and Zip)
                                     7X 7é/                   5                     ,   and my telephone numbers                7 ).6—g3 T Q3 g!
                                                                                                                           are/§/)
                                                                                                                                                (Home/Cell)

                                                                             e 4K COR D DA JJl                                    0 VI

                                                      W
 And                                                  ,and says that    L—

             (Work/Fax)


                                                                                                   Ki
                                                                               (Defendant)

 Whoseaddressis
                           Q1657
                              (Streetand Number)
                                                                       QRO/jz                                       SgL/7Lh           F€(M
                                                                                                                        (City, State and Zip)
                                                                                                                                                           mygoj?
 And telephone numbers are
                                      (3,4 (<77) L/ 7" I6 00
                                        (Home/Cell)
                                                            [2/                          and                                                                  whose identifying
                                                                                                   (Work/Fax)

 information is as follows, if known, DOB                                          Last 3 Numbers of DL                              Last 3 Numbers of SS




 Reasonforfilingthis       Lawsuitzj/I/e              COMl’)             I/'        Via/MeA                          m é-          b I/ \gusp 81A A! VI?
 In?           LII/WI                                  (AMI/             Imc/M III/HM                                          ncI
                                                                                                                                     T/fg/    WU?
                               MVLIQIOY                                                                                                  t“ -
  mp Ina/MU.



 IF SUING FOR PERSONAL PROPERTY, YOU MUST INCLUDE THE VALUE 0F EACH ITEMAND IDENTIFY WHAT YOU ARE           TO RECOIGR EXACTLY. (EX.
                                                                                                    SEEKING
 ”POSSESSION OF ABC BRAND LEATHER CHAIR VALUEDATSSOO. 00, ABC BRAND COFFEE TABLE VALUED ATSISO. 00.
                                                                               I
                                                                                                    PLAINTIFF WISHES TO RECOVER THE
 POSSSESSION OF EACH ITEM OR THE VALUE'THEREOF.”)


                                      lnthe amount of$
                                                             2/;
                                                                   7/4. 5 9                                         Plus Court Costs.




 Plaintiff’s Signature:


                               j) W                     l
                                                                                                                Date Signed:     s3    "/       T
                                                                                                                                                    ZUQ /
bereby        give my consentfor the answer and any other motions or pleadings to be sent to my email address which is:                               '31. K \I HN
                                                                                                                                                    (‘7—   49/ Cb m
                                                                                                                                                                I



                                                                                                                                                              JP-6-702   Rev. 7/13
Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21   Page 8 of 21 PageID 11



                            EXHIBIT 3
                                                                                                                                                         FILED
                                                                                                                                                 March 2,2021
                 Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21                                     Page 9 of 21 PageID  12 COURT PCT. 6
                                                                                                                        JUSTICE                                                ‘
                                            U.S_. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                   '
        Form 161-3 (11/2020)
 EEOC                                                                                                                                TARRANT COUNTY TEXAS


 To:     Leroy Johnson, Jr.
         5317 Rolling Meadows Drive
                                          NOTIcE 0F RIGHT To SUE (ISSUED 0N REQUEST)
                                                                                              From:   Dallas District Ofce
                                                                                                      207 s. Houston St.
                                                                                                                             Bx:

                                                                                                                              “2’2”“
                                                                                                                                     W       _   I
                                                                                                                                                     I
                                                                                                                                                            \




         Ft Worth, TX 76123                                                               ‘           3rd Floor
                                                                                                      Dallas, TX 75202




       D           On behalf of person(s) aggrieved whose identity is
                   CONFIDENTIAL (29 CFR §1 601. 7(a))

 EEOC Charge       No.                                    EEOC Representative                                                      Telephone No.
                                                          Yolanda Brown,
 450-2021 -01 929              .
                                                          Investigator                                              ,
                                                                                                                                   (972) 91 8-3634
                                                                                      (See also the additional information enclosed with                          form.)
NOTICE To THE PERSON AGGRIEVED:                                                                                                                            this

Title VII of the Civil Rights Act of 1964, the Americans with- Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA). This'Is your Notice of Right to Sue issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Title VII, the ADA or GINA must be filed'In a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for ling         suit based on a claim under                       V




state law may be different.)
       ED




                   More than 180 days have passed since the ling        of this charge.

                   Less than 1 80 days have passed .since the ling  of this charge, but I have determined that it is unlikely that the                   EEOC will
                   be able to complete its administrative processing within 180 days from the ling of this charge.
                   The EEOC is terminating its processing of this charge.
    DE




                   The EEOC will continue to process this charge.

Age Discrimination'In Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed                                         until
90 days after you receive notice that we have completed action on the charge. In this regard,     paragraph marked below applies to
your case:                                                                                    the
                   The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
                   90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.


       E           The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the
                   you may le suit in federal or state court under the ADEA at this time.
                                                                                                                                      ling       of the charge,


Equal Pay Act (EPA): You already have the n'ght to sue under the EPA (ling an EEOC charge is not reduired.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you le suit may not be collectible.

If you le   suit, based on this charge, please send a copy of your court complaint to this ofce:


                                                                           On behalf of the Commission




 Enclosures(s)
                                                        rQ“? mg   WBe’linda F McCallister'W
                                                                                                                              2/12/2021
                                                                                                                                         (Datelssued)
                                                                          District Director

 cc:
               Terrence Larkin, VP General Counsel
               Lear Corporation
               21557 Telegraph Rd
               Southfield, Ml 48033
Enclosure with EEOC
         Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21 Page 10 of 21 PageID 13
Form 161-B (11/2020)
                               INFORMATION RELATED To FILING SUIT
                             UNDER THE LAws ENFORCED BY THE EEOC

                     (This information relates to ling suit in Federal or State court under Federal law.
             lfyou also plan to sue claiming violations of State law, please be aware that time limits and other
                   provisions of State law may be shorter or more limited than those described below.)


PRIVATE SUIT RIGHTS          --
                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

ln order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be led in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters likelor related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawfIII practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
ofce of the clerk of the court where you are bringing suit, but do not expect that ofce to write your
                                                                                                           complaint or
make legal strategy decisions for you.                     r




PRIVATE SUIT RIGHTS          --
                                       Equal Pay Act (EPA):
EPA suits must be led    in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 in order to recover unpaid wages due for July 2008. This time limit for ling an EPA
                                  --




suit is separate from the 90-day ling period under Title Vll, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vll, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be led within 90 days of this Notice       within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION                 --
                                             Title VII, the ADA or GINA:
If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do n_ot relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                          --
                                                                    All Statutes:
You may contact the EEOC representative shown on your Notice if you need help in nding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. lf you need to
inspect or obtain a copy of information in EEOC's le on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge les after a certain time, all charge les
are kept for at least 6 months after our last action on the case. Therefore, if you le suit and want to review the charge
le, please make your review request within 6 months of this Notice. (Before ling suit, any request should be'
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
NOTICECase 4:21-cv-00455-P
       0F RIGHTS           Document
                   UNDER THE        1-1 Filed 03/25/21
                              ADA AMENDMENTS       ACT Page 11 of 21 PageID 14
                                                       OF 2008 (ADAAA): The ADA                                 was
amended, effective January 1, 2009, to broaden the denitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still dened as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redened, and it is easier to
be covered under the new law.                                                v




If you plan to retain
                   an attornev to assist vol_1 with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix,           anL   other       ADA            related     publications,    available       at
http://www.eeoc.gov/laws/tvpes/disabilitv regulationscfm.

                     a “record of” a disability (note: if you are pursuing a failure to accommodate claim
“Actual” disability or
you must meet the standards for either “actual” or “record of” a disability):

 >     The limitations from the impairment no longer have to be severe or signicant for the impairment to
       be considered substantially limiting.
  >    In addition to activities such as performing manual tasks, walking,seeing, hearing, speaking, breathing,
       learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C. F. R. §
       1630. 2(i)), “major life activities” now include the operation of major bodily functions, such as:
       mctions     of the immune system, special sense organs and skin; normal cell growth, and digestive,
       genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
       hemic, lymphatic, musculoskeletal, and                    functions; or the operation of an individual organ
       within a body system.                        reproductive
       Only one major life activity need be substantially limited.
 .VV




       With the exception of ordinary eyeglasses or contact lenses, the benecial             effects of “mitigating
       measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modications)               are not
       considered in determining if the impairment substantially limits a major life activity.
 >     An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
       cancer) is a disability if it would be substantially limiting when active.
 >     An impairment may be
                                   substantially limiting even though it lasts or is expected to last fewer than six
       months.

“Regarded as” coverage:
  > An individual can meet the denition of disability if an employment action was taken because of an
     actual or perceived impairment (e. g.., refusal to hire, demotion, placement on involuntary leave,
    termination, exclusion for failure to meet a qualication standard, harassment, or denial of any other term,
    condition, or privilege of employment).
  >    “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
       limiting, or that the employer perceives the impairment to be substantially limiting.
  >    The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
       BOTH transitory (lasting or expected to last six months or less) AND minor.
 >     A person is not able to bring a failure to accommodate claim ifthe individual is covered only under the
       “regarded as” denition of “disability.”

Note: Although the amended ADA states that the denition of disability “shall be construed broadly” and
“should not demand extensive analysis, ” some courts require specicity in the complaint explaining how an
impairment substantially limits a major life activity or whatfacts indicate the challenged employment action
was because ofthe impairment. Beyond the initial pleading stage, some courts will require specic evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http. //WWW. eeoc. gov/laws/tvpes/disabilitv regulations. cfm.
                  Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21                       Page 12 of 21 PageID 15
    U.S. Department of Labor                               Wage and Hour Division
                                                           Dallas District Ofce
                                                           1701 E. Lamar, Suite 270
                                                           Arlington, TX 76006
                                                           Tel: 817/861-2150
                                                           Fax: 817/861-5085

    August 17, 2020


    Lei‘oy Johnson            .


    5317 Rolling Meadows Dr.
    Fort Worth, TX 76123



     Subject:    Lear Corporation    1501   East Bardin Rd. Arlington? TX 76018 (817) 419-3011 or ($517) 419-3008 ‘Cas—e IQ;
'

    1874042
                   "


    Dear Mr. Johnson:

    You recently provided information to the Wage and Hour Division (WHD) of the federal Department of Labor indicating
    that the above-named employer suspended employee due reason of possible misuse of FMLA under the Family and
    Medical Leave Act (FMLA) This ofce conducted an investigation of the above named employer, you were found to be
    owed $931.50 in unpaid compensation, beginning 03/10/2018 and ending 03/17/2018, specically,             the company
    violated the FMLA by suspending employee without pay while under FMLA.

     The WHD contacted the employer, explained the FMLA requirements, and requested settlement, including <Insert
    requested action/s as applicable: reinstatement, payment of unpaid wages/employment benefits/monetary losses> on
    your behalf. The employer would not agree to a settlement or to pay the unpaid wages owed to you. The WHD has the
    authority to le court actions against employers that have violated the FMLA and seek equitable legal remedies and
    payment of unpaid wages. However, the WHD'S resources do not permit it to litigate all of the cases for which it is unable
    to obtain the employer's agreement to voluntarily resolve. Consequently, it is necessary for the WHD to advise certain
    complainants that it will not pursue litigation on their behalf and advise them of other resources that may be available to
    them to resolve their claim.

    The WHD is declining to litigate your complaint and will not take any further action on your behalf.
          .The decision by the WHD not to litigate your claim and to take no further action on your behalf
           does not affect your right to bring a private action in court under the FMLA t0 obtain
           reinstatement,-lost wages, employment benefits, any monetary losses as a direct result of the
          violation, interest on the unpaid amounts, an equal amount in liquidated damages, plus attorney's
          fees and court costs or other relief as may be appropriate.

    The Department does not encourage or discourage such private lawsuits. The decision to pursue      a private action is
    entirely up to you.

    IMPORTANT DEADLINES:           If you wish to pursue a private lawsuit, you should be mindful that the deadlines under the
    FMLA are as follows:                                                                                                 v




                                             Statute of Limitations under   FMLA
                 2 years from the last violation
        ’
            —>
            —>   3 years from the last violation   ifyou can prove that your employer’s actions were
                 “willful.”
                 Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21                           Page 13 of 21 PageID 16
    Generally, this means that any part of a back wage claim which was earned more than two years before a lawsuit is led
    may not be recoverable.

    If you choose to pursue a private lawsuit, you may request, using the “Request for Documents” sheet attached to this
    letter, the following documents to provide to an attorney of your choosing:
         l. Your personal complaint documents (e.g. written statements, records of hours worked, pay stubs) you provided to
                the   WHD;
        2.      Backwage computations/WH-SS or equivalent, pertaining to you only;
        3. Your interview statement;
        4. Case File Investigation Narrative Report

    If you choose to request documents numbers     1  3 above, the WHD will promptly provide the documents to you. Ifyou
                                                       —

    include document number 4 above, your overall request will likely take longer to complete. Additional documents other
    than those noted above may be obtained by you or your attorney by making a Freedom of Information Act (FOIA) request
    in writing. Please note that information such as the names of other employees or witnesses that were a part of the
    investigation will not be provided as part of any request.

    The Request for Documentsshpuld be sent to thefollowing address:            _   _   _      __
                                                                                                      .   __




                                                    Referral Document Request
                                                     U.S. Department of Labor
                                                     Wage and Hour Division
                                               200 Constitution Avenue N.W., 8-3502
                                                     Washington, D.C. 20210

    Please keep in mind that recovery of unpaid wages or other equitable relief under the FMLA is subject to a two-year
    statute of limitations unless the employer' s actions are willful, which extends the statute of limitations an additional year.
    Generally, this means that any part of a back         claim which was earned more than two years before a lawsuitls led
                                                    wage
    may not be recoverable.

    A copy of the Handy Reference Guide (HRG) to the FMLA is enclosed for your information. Please feel free to contact
    this ofce at 817-861-2150 ifyou have any questions regarding this letter.




    Jesus Valdez
                 11.11%
—
    District Director
    Enclosure. FMLA Fact Sheet# 28
Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21   Page 14 of 21 PageID 17



                             EXHIBIT 4
         Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21             Page 15 of 21 PageID 18

                                   **ORIGINAL CIVIL CITATION**

                                         THE STATE OF TEXAS

TO:    LEAR CORPORATION
       21557 TELEGRAPH RD
       SOUTH FIELD MI 48033
       SRV:

        DEFENDANT, GREETING:

       YOU ARE HEREBY COMMANDED TO APPEAR BY FILING A WRITTEN ANSWER TO THE PLAINTIFF’S
PETITION BEFORE THE JUSTICE COURT, PRECINCT SIX AT 6551 GRANBURY ROAD FORT WORTH TEXAS 76133,
SAID PLAINTIFF BEING

LEROY JOHNSON JR                                                   PLAINTIFF

      AND SAID:

LEAR CORPORATION                                                   DEFENDANT

FILED MARCH 02, 2021, FILE NO. JP06-21-SC00015049 SUED UPON: SEE PETITION ATTACHED, PLUS COURT
COSTS.

             PLAINTIFF RESERVES THE RIGHT TO PLEAD FURTHER ORALLY AT TIME OF TRIAL
  ***************************************************************************************************
                                       NOTICE TO DEFENDANT

“YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY TO HELP YOU IN DEFENDING AGAINST THIS
LAWSUIT. BUT YOU ARE NOT REQUIRED TO EMPLOY AN ATTORNEY. YOU OR YOUR ATTORNEY MUST
FILE AN ANSWER WITH THE COURT. YOUR ANSWER IS DUE BY THE END OF THE 14TH DAY AFTER THE
DAY YOU WERE SERVED THESE PAPERS. IF THE 14TH DAY IS A SATURDAY, SUNDAY, COUNTY HOLIDAY,
OR ON A DAY THAT THE COURT CLOSES BEFORE 5:00 P.M. YOUR ANSWER IS DUE ON THE NEXT BUSINESS
DAY. DO NOT IGNORE THESE PAPERS. IF YOU DO NOT FILE AN ANSWER BY THE DUE DATE, A DEFAULT
JUDGMENT MAY BE TAKEN AGAINST YOU. FOR FURTHER INFORMATION, CONSULT PART V OF THE
TEXAS RULES OF CIVIL PROCEDURE, WHICH IS AVAILABLE ONLINE AND ALSO AT THE COURT LISTED
ON THIS CITATION.” UPON TIMELY REQUEST, NO LATER THAN 14 DAYS BEFORE THE DAY SET FOR
TRIAL, AND PAYMENT OF A $22.00 JURY FEE, THIS CASE WILL BE HEARD BY A JURY.”
   ***************************************************************************************************
       THE OFFICER EXECUTING THIS WRIT SHALL PROMPTLY SERVE THE SAME ACCORDING TO
REQUIREMENTS OF LAW, AND THE MANDATES HEREOF, AND MAKE DUE RETURN AS THE LAW DIRECTS.

        GIVEN UNDER MY HAND THIS MARCH 02, 2021.
                                                        JASON M CHARBONNET
                                                        JUSTICE OF THE PEACE, PRECINCT SIX
                                                        TARRANT COUNTY, TEXAS



                                                                 Signed: 3/2/2021 3:36:14 PM
                                                /S/


                                                CLERK OF THE JUSTICE COURT, PRECINCT SIX
        Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21                     Page 16 of 21 PageID 19

                                              SHERIFF’S OR CONSTABLE’S RETURN
       CAME TO HAND ON THE _______ DAY OF __________________ A.D. __________, AT _______________

O’CLOCK , ___ M. AND EXECUTED ON THE ______ DAY OF ____________________________, __________ , AT

________________ O’CLOCK , ____ M. BY DELIVERING TO ____________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

DEFENDANT, OR DEFENDANTS, IN PERSON A TRUE COPY OF THIS CITATION _________________________

__________________________________________________________________________________________________

NOT SERVED AS TO THE FOLLOWING NAMED DEFENDANT FOR THE REASONS SET OPPOSITE NAME.

__________________________________________________________________________________________________

__________________________________________________________________________________________________

FEES-SERVING….. $ ____________________________          ________________________________________________
                                                        *SHERIFF / CONSTABLE,
       COP.    ….. $ ____________________________        PRECINCT NO. ____________________

       TOTAL…..$ ____________________________           ______________________ COUNTY, TEXAS

* STRIKE IF NOT APPLICABLE                              BY DEPUTY _____________________________________
*********************************************************************************************************
                                             ORIGINAL CIVIL CITATION

IN THE JUSTICE COURT                                     ISSUED MARCH 02, 2021

JASON M CHARBONNET
JUSTICE OF THE PEACE, PRECINCT SIX                                        817-370-4525
6551 GRANBURY ROAD                                               FAX      682-255-3981
FORT WORTH TEXAS 76133
                                            CASE NO. JP06-21-SC00015049

PLAINTIFF(S):
    LEROY JOHNSON JR                      5317 ROLLING MEADOWS DR
                                          FORT WORTH, TX 76123
ATTORNEY(S) FOR PLAINTIFF(S):

                                                        VS.

DEFENDANT(S):
    LEAR CORPORATION                      21557 TELEGRAPH RD                         HOME: 248-447-1500
                                          SOUTH FIELD, MI 48033
ATTORNEY(S) FOR DEFENDANT(S):
********************************************************************************************************
FNS                                      JP06-21-SC00015049
                   ***PLEASE ARRIVE 15 MINUTES BEFORE SCHEDULED COURT TIME***
                              ***NO SHORTS ALLOWED IN COURTROOM***
         Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21            Page 17 of 21 PageID 20

                                      **ORIGINAL CIVIL CITATION**

                                          THE STATE OF TEXAS

TO:    LEAR CORPORATION
       21557 TELEGRAPH RD
       SOUTH FIELD MI 48033
       SRV:

        DEFENDANT, GREETING:

       YOU ARE HEREBY COMMANDED TO APPEAR BY FILING A WRITTEN ANSWER TO THE PLAINTIFF’S
PETITION BEFORE THE JUSTICE COURT, PRECINCT SIX AT 6551 GRANBURY ROAD
FORT WORTH TEXAS 76133, SAID PLAINTIFF BEING

LEROY JOHNSON JR                                                    PLAINTIFF

      AND SAID:

LEAR CORPORATION                                                    DEFENDANT

FILED MARCH 02, 2021, FILE NO. JP06-21-SC00015049 SUED UPON: SEE PETITION ATTACHED, PLUS COURT
COSTS.

              PLAINTIFF RESERVES THE RIGHT TO PLEAD FURTHER ORALLY AT TIME OF TRIAL
   ***************************************************************************************************
                                        NOTICE TO DEFENDANT

“YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY TO HELP YOU IN DEFENDING AGAINST THIS
LAWSUIT. BUT YOU ARE NOT REQUIRED TO EMPLOY AN ATTORNEY. YOU OR YOUR ATTORNEY MUST
FILE AN ANSWER WITH THE COURT. YOUR ANSWER IS DUE BY THE END OF THE 14TH DAY AFTER THE
DAY YOU WERE SERVED THESE PAPERS. IF THE 14TH DAY IS A SATURDAY, SUNDAY, COUNTY HOLIDAY,
OR ON A DAY THAT THE COURT CLOSES BEFORE 5:00 P.M. YOUR ANSWER IS DUE ON THE NEXT BUSINESS
DAY. DO NOT IGNORE THESE PAPERS. IF YOU DO NOT FILE AN ANSWER BY THE DUE DATE, A DEFAULT
JUDGMENT MAY BE TAKEN AGAINST YOU. FOR FURTHER INFORMATION, CONSULT PART V OF THE
TEXAS RULES OF CIVIL PROCEDURE, WHICH IS AVAILABLE ONLINE AND ALSO AT THE COURT LISTED
ON THIS CITATION.” UPON TIMELY REQUEST, NO LATER THAN 14 DAYS BEFORE THE DAY SET FOR
TRIAL, AND PAYMENT OF A $22.00 JURY FEE, THIS CASE WILL BE HEARD BY A JURY.”

  ***************************************************************************************************
      THE OFFICER EXECUTING THIS WRIT SHALL PROMPTLY SERVE THE SAME ACCORDING TO
REQUIREMENTS OF LAW, AND THE MANDATES HEREOF, AND MAKE DUE RETURN AS THE LAW DIRECTS.

        GIVEN UNDER MY HAND THIS MARCH 02, 2021.
                                                         JASON M CHARBONNET
                                                         JUSTICE OF THE PEACE, PRECINCT SIX
                                                         TARRANT COUNTY, TEXAS


                                                         ORIGINAL SIGNED
                                                  BY:___________________________________________
                                                     CLERK OF THE JUSTICE COURT
        Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21                     Page 18 of 21 PageID 21

                                SHERIFF’S OR CONSTABLE’S RETURN
       CAME TO HAND ON THE _______ DAY OF __________________ A.D. __________, AT _______________

O’CLOCK , ___ M. AND EXECUTED ON THE ______ DAY OF ____________________________, __________ , AT

________________ O’CLOCK , ____ M. BY DELIVERING TO ____________________________________________

__________________________________________________________________________________________________

__________________________________________________________________________________________________

DEFENDANT, OR DEFENDANTS, IN PERSON A TRUE COPY OF THIS CITATION _________________________

__________________________________________________________________________________________________

NOT SERVED AS TO THE FOLLOWING NAMED DEFENDANT FOR THE REASONS SET OPPOSITE NAME.

__________________________________________________________________________________________________

__________________________________________________________________________________________________

FEES-SERVING….. $ ____________________________          ________________________________________________
                                                        *SHERIFF / CONSTABLE,
       COP.    ….. $ ____________________________        PRECINCT NO. ____________________

       TOTAL…..$ ____________________________           ______________________ COUNTY, TEXAS

* STRIKE IF NOT APPLICABLE                              BY DEPUTY _____________________________________
*********************************************************************************************************
                                             ORIGINAL CIVIL CITATION

IN THE JUSTICE COURT                                    ISSUED MARCH 02, 2021

JASON M CHARBONNET
JUSTICE OF THE PEACE, PRECINCT SIX                                        817-370-4525
6551 GRANBURY ROAD                                               FAX      682-255-3981
FORT WORTH TEXAS 76133
                                            CASE NO. JP06-21-SC00015049

PLAINTIFF(S):
    LEROY JOHNSON JR                      5317 ROLLING MEADOWS DR
                                          FORT WORTH, TX 76123
ATTORNEY(S) FOR PLAINTIFF(S):

                                                        VS.

DEFENDANT(S):
    LEAR CORPORATION                      21557 TELEGRAPH RD                         HOME: 248-447-1500
                                          SOUTH FIELD, MI 48033
ATTORNEY(S) FOR DEFENDANT(S):
********************************************************************************************************
FNS                                       JP06-21-SC00015049
                   ***PLEASE ARRIVE 15 MINUTES BEFORE SCHEDULED COURT TIME***
                              ***NO SHORTS ALLOWED IN COURTROOM***
  Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21                      Page 19 of 21 PageID 22




                                        JASON M. CHARBONNET
                                     JUSTICE COURT, PRECINCT SIX
                                         6551 GRANBURY ROAD
                                       FORT WORTH TEXAS 76133
                                               817-370-4525
                                            FAX (682-255-3981


                                             March 02, 2021


OAKLAND COUNTY SHERRIFF'S OFFICE CIVIL UNIT
1200 N. TELEGRAPH RD
PONTIAC, MI. 48341


RE: Case No: JP06-21-SC00015049           PLEASE SERVE: LEAR CORPORATION
                                          21557 TELEGRAPH RD
                                          SOUTH FIELD MI 48033


Dear Oakland County Sheriff’s Office ,

Enclosed please find the citation for service for the above-mentioned case, to be served upon the
defendant and a money order/cashier’s check for the service fee in the amount of $61.20.

Please be sure to send the original citation back to this office after service, attempted service, and any
requests for alternate service as it must be on file at the court before further action can be taken on this
case.



Respectfully,
       Signed: 3/2/2021 3:49:44 PM




Justice Court Clerk

enclosures: Citation & Money Order/Cashier’s Check# CHASE 4522
     Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21              Page 20 of 21 PageID 23



CASE No.

DEFENDANT NAME;        Lak       (Lakavwm


     INSTRUCTIONS IF YOUR DEFENDANT IS LOCATED OUT OF TARRANT COUNTY
*IF YOU HAVE MULTIPLE DEFENDANTS, A COPY OF THIS FORM IS TO BE SUBMITTED FOR EACH*



IF THE DEFENDANT UPON WHOM YOU ARE FILING IS TO BE SERVED OUT OF TARRANT COUNTY,
IT IS THE PLAINTIFF'S RESPONSIBILITY TO PROVIDE THE COURT THE FOLLOWING INFORMATION:



     1.   THE NAME OF THE CONSTABLE, SHERIFF OR OTHER AGENCY THAT WILL BE SERVING THE
          CITATION.

           @AKIMA Comm SHeRIEs                                          ails/ac
     2.   THE ADDRESS AND PHONE NUMBEAOF THE CONSTABLE, SHERIFF, OR OTHER AGENCY
          TO SEND THE            SERVICE:

          [Iv/         Ij/If
                       CITATIOXFOR

          Law N. Rag/mph M-
                        4937/
          ponIInc/ Mich.5mn
     3.   THE SERVICE FEE THAT THE ABOVE CONSTABLE, SHERIFF, OR OTHER AGENCY REQUIRES
          TO SERVE A SMALL CLAIMS OR DEBT CLAIM CITATION. THIS PAYMENT MUST BE A
          MONEY ORDER OR CASHIER'S CHECK AND MADE PAYABLE AS INSTRUCTED BY SAID
          AGENCY. CASH W/LL NOT BEACCEPTED FOR OUT 0F COUNTY SERVICE FEES.


           91.10

PLAINTIFF'S SIGNATURE



DATE:     03/0    I
                      ’ QIOQU
**IF YOU HAVE ANY QUESTIONS REGARDING THE ABOVE, PLEASE CONTACT THE JUSTICE COURT 6 OFFICE 817-370-
4525’”
Case 4:21-cv-00455-P Document 1-1 Filed 03/25/21        Page 21 of 21 PageID 24



                             JASON M. CHARBONNET
                       JUSTICE OF THE PEACE, PRECINCT SIX
                                6551 GRANBURY ROAD
                              FORT WORTH, TEXAS 76133
                                   817-370-4525
                                 FAX 682-255—3981


        TO FILE A CASE WITH SERVICE ON DEFENDANT OUT OF COUNTY

 1.   LOCATE THE COUNTY THE DEFENDANT WlLL BE SERVED.


 2.   CONTACT THE CONSTABLE FOR THAT COUNTY AND GIVE THEM THE DEFENDANT'S
      ADDRESS. THEY WILL BE ABLE TO TELL YOU THE CONSTABLE'S OFFICE RESPONSIBLE FOR
      SERVING THE CITATION.

         A. FIND OUT THE CONSTABLE'S NAME AND ADDRESS FOR THE COURT TO MAIL THE
                                                            ‘
              CITATION TO.
         B.   FIND OUT HOW MUCH THE CONSTABLE WILL CHARGE FOR SERVICE ON YOUR
            DEFENDANT.
                 **MAKE SURE THAT THEY ARE AWARE YOU ARE FILING CASE IN A
                 TARRANT COUNTY JP COURT**
         C. FIND OUT |F YOU NEED TO GIVE THEM A MONEY ORDER OR A PERSONAL CHECK.
         D. USE THE BACK OF THIS FORM FOR YOUR INFORMATION.


 3.   YOU CAN RETURN TO THE JUSTICE COURT WITH THE ABOVE INFORMATION AND FILE
      YOUR COMPLETED PETITION. YOU WILL NEED TO GIVE THE COURT A SEPARATE
      PAYMENT FOR THE JP FEE WHICH WILL BE $46.00. THEREFORE, YOU WILL BE BRINGING
      2 SEPARATE PAYMENTS: JP FEE (CHECK, MONEY ORDER, CASHIER'S CHECK, AND CREDIT
      CARD WILL BE ACCPETED) AND THE CONSTABLE'S FEE (CHECK 0R MONEY ORDER
      ONLY). WE WILL SEND YOUR CHECK WITH THE CITATION TO THE ADDRESS YOU
      PROVIDE FOR THE OUT OF COUNTY CONSTABLE.

            **SPECIAL NOTE**
       SOME COUNTIES MAY BE VERY SMALL OR NOT HAVE A CONSTABLE. THEREFORE, YOU
       WILL NEED TO CONTACT THE COUNTY SHERIFF'S DEPARTMENT-CIVIL DIVISION FOR
       INSTRUCTIONS.


       IT IS IMPORTANT THAT YOU GET THE CORRECT INFORMATION. INCORRECT
       INFORMATION MAY DELAY THE PROCESS OF YOUR CASE.
